Case 1:20-mj-00416-SJB ECF No. 43-4 filed 10/16/20 PagelD.261 Page 1of1

AO 466A (Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)

 

 

 

United States of America

UNITED STATES DISTRICT COURT?

for the
District of Delaware

 

 

DISTRICT OF °°” RE
Case No. 20-mj-252

 

V.

BARRY CROFT
Charging District’s Case No. 1:20-MJ-416

 

I understand that | have been charged in another district, the (name of other court)

Defendant

WAIVER OF RULE 5 & 5.1 HEARINGS
(Complaint or Indictment)

Western District of Michigan

[ have been informed of the charges and of my rights to:

(1)
(2)
(3)
(4)

(5)
(6)

retain counsel or request the assignment of counsel if 1 am unable to retain counsel;

an identity hearing to determine whether I am the person named in the charges;

production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

a preliminary hearing within 14 days of ay first appearance if I am in custody and 21 days otherwise —
unless I am indicted — to determine whether there is probable cause to believe that an offense has

been committed;

a hearing on any motion by the government for detention;

request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

I agree to waive my right(s) to:

o

o
og
x

an identity hearing and production of the warrant.
a preliminary hearing.
detention hearing.

an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
be entitled in this district. 1 request that those hearings be held in the prosecuting district, at a time set
by that court.

I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.

Date:

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: “/ “ thefendant 's signature
oo
Le

Signature of defendant's attorney

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Printed name of defendant's attorney
